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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

                                            )
DR. LATIKA GIRI, on behalf of herself       )
and all others similarly situated,          )
                                            )
            Plaintiffs,                     )
                                            )
                                                Case No. 24-cv-410
      v.                                    )
                                                CLASS ACTION
                                            )
                                                JURY TRIAL DEMANDED
THE NATIONAL BOARD OF                       )
MEDICAL EXAMINERS, c/o CT                   )
Corporation System, 1015 15th Street        )
NW, Suite 1000, Washington, DC 20005        )
                                            )
            Defendants.                     )
                                            )
                                            )


 DECLARATION OF JASON HARROW IN SUPPORT OF MOTION FOR
TEMPORARY RESTRAINING ORDER OR PRELIMINARY INJUNCTION
                         AND
   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT




                                        i
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                       DECLARATION OF JASON HARROW

      I, Jason Harrow, declare as follows.

      1.       I am co-counsel for Plaintiff in this matter. I am over eighteen years old,

and, if called, I could competently testify to the following matters.

      2.       At approximately 12:20 pm eastern on Monday, February 12, I received

a call from counsel for Defendant Robert Burgoyne.

      3.       During the conversation, the participants had some discussion as to the

underlying facts of the NBME’s actions and what Defendant’s legal position might

be.

      4.       At one point during the discussion, Mr. Burgoyne represented that the

adverse actions against test takers may have been confined to tests conducted in one

testing center in Nepal. After further discussion, however, Mr. Burgoyne seemingly

corrected himself and stated that it was his understanding there were tips about what

he called either a “cheating ring” or “cheating rings” of people sharing questions with

one another.

      5.       Mr. Burgoyne also stated his understanding that the investigation into

this matter by NBME remained ongoing.



      I declare under penalty of perjury under the laws of the United States that the

forgoing is true and correct. Dated February 12, 2024.

                                          /s/ Jason Harrow




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